
PER CURIAM
Granted in part. Considering our order in Crosstex Energy Services, LP v. Texas Brine Co., LLC , 2018-1128 (La. 10/29/18), 255 So. 3d 587, the judgment of the court of appeal is vacated insofar as it finds the district court is divested of jurisdiction to consider Texas Brine's fraud-based claims in the Crosstex matter. We hereby grant a limited remand of the Crosstex appeal in order to permit the district court to conduct the trial, as scheduled, of Texas Brine's fraud-based claims in the Crosstex matter only. In all other respects, the writs are denied.
Justices Weimer, Guidry, and Clark, would deny all applications.
Justice Hughes would grant all applications.
